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                                                                               United States District Court
                                                                                 Southern District of Texas

                                                                                    ENTERED
                      IN THE UNITED STATES DISTRICT COURT                        December 08, 2016
                                                                                 David J. Bradley, Clerk
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

CHARLES MAMOU, JR.,                          §
                                             §
                Petitioner,                  §
                                             §
VS.                                          §           CIVIL ACTION NO. H-14-403
                                             §
LORIE DAVIS,                                 §
Director, Texas Department of                §
Criminal Justice, Correctional               §
Institutions Division,                       §
                                             §
                Respondent.                  §

                                   FINAL JUDGMENT

       Charles Mamou, Jr.’s petition for a writ of habeas corpus is denied. This case is

dismissed.

              SIGNED on December 8, 2016, at Houston, Texas.

                                                 ______________________________________
                                                          Lee H. Rosenthal
                                                    Chief United States District Judge
